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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI
EASTERN DIVISION

BRANDI AND BENJAMIN AKERS,

Plaintiffs,
Case No.
vs.
St. Louis County, Missouri

Associate Circuit Court
No. l3SL-AC00152

MEDICREDIT, INC.

Defendant.
NOTICE OF REMOVAL OF ACTION
UNDER 28.U.S.C. §1331

(FEDERAL QUESTION JURISDICTION)

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NOTICE OF REMOVAL OF CIVIL ACTION

Defendant Medicredit, Inc. ("Defendant"), pursuant to 28 U.S.C. §1441, hereby removes
this action to this Court from the Associate Circuit Court of St. Louis County, State of Missouri.
This is a civil action over Which this Court has original subject matter jurisdiction under 28
U.S.C. §1331 in that Plaintiffs' Petition filed raises claims centered on the "Fair Debt Collection
Practices Act", or "FDCPA", 15 USC 1692, et. seq., and on the “Telephone Consumer Protection
Act,” 47 U.S.C. § 227. ln support hereof, Defendant states as follows:

l. INTRODUCTION

l. Plaintiffs Brandi and Benjamin Akers (the "Plaintiffs") filed this case, styled
Brandi and Benjamin Akers v. Medicredit, lnc., Cause No. l3SL-AC-00152, in the Circuit Court
of St. Louis County, State of Missouri. This lawsuit involves Plaintiffs’ claims relating to an

allege debt With Defendant.

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2. Plaintif`fs filed their two count Petition f`or Violation of` the FDCPA, among other
things.
|l. NOTICE OF REMOVAL IS TIMELY

3. On or about January 30, 2013, the Plaintif`fs served their Petition on Defendant.
This Notice of Removal is timely because it is filed Within thirty (3 0) days of Def`endant's receipt
of` service of` the Petition and Within one year of` the commencement of` this action as mandated
by 28 U.S.C. §l446(b).

lll. FEDERAL OUESTION JURISDICTION EXISTS

4. The Court has original jurisdiction over this action under 28 U.S.C. §1331 and
this case may be removed pursuant to 28 U.S.C. §l44l(b) because it involves a federal question
based upon the “Fair Debt Collection Practices Act”, 15 U.S.C. §l692a and the “Telephone
Consumer Protection Act”, 47 U.S.C. § 227.

lV. REMOVAL TO THIS DISTRIC'I` IS PROPER

5. Removal venue exists in the United States District Court for the Eastem District
of Missouri and is proper in this Court because the Circuit Court of St. Louis County, State of`
Missouri is Within the Eastern District of Missouri.

6. Pursuant to 28 U.S.C. § l446(a) and Local Rule 81-2.03, true and correct copies
of all pleadings on file at St. Louis County to date are attached hereto as Exhibit A.

7. Written notice of` the filing of this Notice of` Removal Will be promptly served on
the attorney f`or Plaintif`fs and a copy has been filed With the Clerk of` the Circuit Court of` St.
Louis County, State of Missouri.

8. Defendant's Notice to Clerk of Filing Notice of Removal Will also be promptly

filed With the Clerk of` the Circuit Court of St. Louis County, State of` Missouri.

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9. Defendant hereby reserves any and all rights to assert any and all defenses to
Plaintiffs’ Petition, including but not limited to failure to state a claim upon which relief can be

granted.
10. Defendant reserves the right to amend or supplement this Notice of Removal.

11. Defendant has not answered the Petition in state court, and will do so consistent

with Fed. R. Civ. P. 8(c).
WHEREFORE, Medicredit, Inc. respectfully removes this action now pending in the

Circuit Court of St. Louis County, State of Missouri to this Court.

LATHROP & GAGE LLP

/s/ Jaimie L. Thompson

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Attorneys for Defendant
Medicredit, Inc.

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CERTIFICATE OF SERVICE

I hereby certify a true copy of` the foregoing Notice of Removal was served, by First
Class United States Mail, Postage Prepaid on this 28th day of February, 2013 to the following:

J ames W. Eason

Rick A. Voytas

Eason & Voytas, LLC

1 North Taylor Ave.

St. Louis, MO 63108

rickvoytas@gmail.com

/s/ Jaimie L. Thompson

 

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